EXHIBIT A
STATE OF SOUTH CAROLINA} MAGISTRATE COURT
) CASE NO: 2021]-101-060-0094
COUNTY OF CHARLESTON )

JAY CONNOR
Plaintiff,
ORDER
Vs pe Rosen =
COMPLETE RESERVATION SOLUTIONS, LLC
Defendant.

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The above captioned matter came before this Court for a default hearing on
October 1, 2021. Plaintiff brought suit under the Telephone Consumer Protection Act of
1991, 47 U.S.C, § 227, (“TCPA”), and the South Carolina Telephone Privacy Protection
Act of 2018, 8.C, Code § 37-21-10, (“SCTPPA”) seeking statutory damages for a
solicitation call made to his wireless number. Plaintiff also sought increased damages
prescribed under the SCTPPA as “wilful” violations.

Due to the jurisdictional limit of this court, this decision only considers the
SCTPPA allegations in the complaint, and Plaintiff has also waived any damage awards

resulting from SCTPPA violations that exceed the jurisdictional limit.

FINDINGS OF FACT

Plaintiff Jay Connor appeared pro se, remotely via WebX, Defendant Complete
Reservation Solutions (“CRS”) did not answer or make an appearance. On March 26,
2021, Plaintiff submitted an affidavit and USPS green card indicating the registered agent
for CRS accepted service by certified mail on January 25, 2021. The court also received

an affidavit from a process server on behalf of plaintiff indicating the registered agent for

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CRS was served again personally with a copy of the summons and complaint on July 6,
2021,

In his complaint, Plaintiff alieged that on October t, 2020, he answered a telephone
call (the “Call”) made to his wireless telephone line, a number he has maintained on the
National Do Not Call Registry (the “Registry”) since 2009. He also alleged the Call was
anonymous, and transmitted a South Carolina caller identification number, At the hearing,
Connor testified the caller identification number was a non-working number. He identified
CRS by purchasing the cruise on his credit card, and provided a screen shot notification
from his bank identifying Complete Reservation as the merchant. Connor also testified that
he had received calls from CRS prior to 10/1/20, and notified them his number was on the
DNC Registry.

LEGAL ANALYSIS

The Court finds the call Plaintiff received on 10/1/2020 offering to sell him a
cruise constitutes a “telephone solicitation” as contemplated in the Act. The Court further
finds that the Call violated three separate and distinct provisions of the Act, and that
Plaintiff is entitled to damages for each violation.

First, South Carolina Jaw prohibits any telephone solicitation using a “spoofed”
caller identification mumber, and prohibits businesses from displaying a South Carolina
Caller ID unless they maintain a physical presence in the state. See S.C. Code § 37-21-50,
The Court finds the number transmitted in the Call is a violation because it is a non-
working, South Carolina number, and because CRS does not maintain a physical presence

in South Carolina. /
Secondly, Connor was called on a number registered on the National Do Not Call
Registry, which is prohibited under S.C. Code § 37-21-70. The court finds the Call itself is
a violation because it was made to a number that has been on the Registry since 2009, and
CRS was on notice that the number was on the Registry prior to the Call.

Lastly, South Carolina law prohibits anonymous telephone solicitation calls
requiring that:

Al the outset of a telephone solicitation, a telephone solicitor shall provide,

in a clear and conspicuous manner, a first and last name to identify himself

and provide the name of the person on whose behalf the telephone

solicitation is being made... See S.C. Code § 37-21-40.

The Court finds CRS’ failure to satisfy the statutory identification requirements to
be a third violation by withholding the name of their company during the call. Plaintiff

was only able to identify CRS because he purchased the cruise with his credit card and

their name appeared as the merchant.

Damages -
The Act allows for statutory damages to be awarded to South Carolina residents for
violations of its provisions.
S.C, Code § 37-21-80 (A)“A person who is aggrieved by a violation of this
chapter is entitled to initiate an action to enjoin the violation and to recover
actual losses in addition to damages in the amount of one thousand dollars for
each violation.” (Emphasis added)
Plaintiff did not request actual losses resulting from the call, so the court will only
address damages “for each violation”, Under the SCTPPA, aggrieved parties are entitled to

damages for multiple violations, even if they are within a single call, and there is no

predetermined maximum amount for damages.
The court finds for each violation to be clear and unambiguous, and the Plaintiff

identified three (3) separate SCTPPA violations within the Call.

Wiilful Increased Damages -

Ifa court finds the violations are wilful, the court may, but is not required, to increase
the damages.
S.C, Code § 37-21-80 (B) states that if the court finds a wilful violation, the

court may, in its discretion, increase the amount of the award to an amount
not exceeding five thousand dollars for each violation. (Emphasis added),

Willful is not defined under the Act. In lieu ofa definition, this Court believes it is
proper to look to other sources of law within the context of telemarketing to supplement its
provisions and carry out legislative intent, See 8.C. Code § 37-1-102(1) (“This title shall
be liberally construed and applied to promote its underlying purposes and policies.”); See
also 8.C, Code § 37-1-103 (“Unless displaced by the particular provisions of this title, the
Uniform Commercial Code and the principles of law and equity, including the law relative
to capacity to contract, principal and agent, estoppel, fraud, misrepresentation, duress,
coercion, mistake, bankruptcy, or other validating or invalidating cause supplement its
provisions.”),

Ina Ohio Supreme Court TCPA ruling, the court determined that a Plaintiff is not
required to prove the telemarketer intentionally violated the statute to establish a “willful”
violation:

[T]he Federal Communications Commission examined the TCPA and
determined that a wilifui violation means that the ‘violator knew that he was
doing the act in question and that the violator need not know that his action

or inaction constitutes a violation; ignorance of the law is not a defense or
mitigating circumstance.’
We hold that to establish a knowing or willful violation under the TCPA for
the award of treble damages, or under the CSPA for an award of aftomey
fees, a plaintiff need not prove that the defendant knew that conduct violated
the law but only that the defendant knew the underlying facts of the
conduct, (Emphasis added}

Charvat v, Ryan, 116 Ohio St. 3d 394, 400 (Ohio 2007) (Internal citation
omitted),

This Court finds the reasoning in Charvat to be persuasive, ‘Wilful’ acts are
intentional, conscious, deliberate, and not by accident. However, a plaintiff should not
have to prove the telemarketer knew he was violating the statute to establish “wilful”, and
potential increased damages. This Court agrees with the Ohio Supreme Court reasoning
that the low threshold for ‘wilful’ is balanced with its wide discretion to award damages
“up to” five thousand dollars. A court may choose not to award increased damages, even if

the conduct is found to be wilful,

On October 1, 2020, CRS caused the call to Plaintiff's number, which has been on
the national DNC registry since 2009, transmitted a non-working, South Carolina Caller
{D, and deliberately withheld its business name, This Court finds the acts were wilful, and
CRS knew, or should have known they were in violation of state law. CRS also waived
any potential affirmative defenses by failing to answer the Complaint or appear at the

hearing
Conclusion

The Court is persuaded that CRS is responsible for the call, and the call contained

three (3) violations, Furthermore, the Court finds the violations were wilful within the
context and legislative intent of the SCTPPA, and that increased damages are appropriate

and necessary,

Plaintiff is entitled to statutory damages of ($3,000.00) Three Thousand Dollars
and no/100 for three violations of the SCTPPA, and because the acts were wilful ;

damages are increased to ($15,000.00) Fifteen Thousand Dollars and no/100,

Plaintiff voluntarily waived all damages exceeding the jurisdictional limit of the
court, Therefore, it is hereby ORDERED, ADJUDGED AND DECREED, that Plaintiff
Shall have judgment for $7,500.00, plus court costs for $140.00 totaling ($7,640.00)

SEVEN THOUSAND SIX HUNDRED FORTY DOLLARS AND NO/100,

AND IT IS SO ORDERED

Laura Beck, Magistrate

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See fe ba i 4. 2021 Charleston, South Carclina

